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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 WAYCROSS DIVISION

 BRANTLEY COUNTY DEVELOPMENT
 PARTNER, LLC,

                Plaintiff,
 V.                                                   CIVIL ACTION FILE
                                                      NO. 5:19-CV-00109-LGW-BWC
 BRANTLEY COUNTY, GEORGIA by and
 through its CHAIRMAN and MEMBERS OF
 THE BRANTLEY COUNTY BOARD OF
 COMMISSIONERS; CHRIS “SKIPPER”
 HARRIS; RANDY DAVIDSON; BRIAN
 HENDRIX; JESSE MOBLEY and RAY
 GRIFFIN, all in their official capacities as
 commissioners; and JESSE MOBLEY,
 individually,

                Defendants.


       DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
                     FOR PRELIMINARY INJUNCTION

                                     I.     INTRODUCTION

       COME NOW Defendants Brantley County, Georgia, Chairman and members of the

Brantley County Board of Commissioners, Chris Harris, Randy Davidson, Brian Hendrix, Jesse

Mobley and Ray Griffin (“Defendants” or “County”), by and through the undersigned counsel,

and hereby file this, their Response in Opposition to Brantley County Development Partners’

Motion for Preliminary Injunction (Doc. 58).

       At the outset, it must be noted that it is not at all clear what Brantley County Development

Partners (“Development Partners” or “Plaintiff”) is seeking to have this Court enjoin, other than

some type of broad restriction on the County’s participation in the Georgia Environmental

Protection Division’s (“EPD”) public process of reviewing a landfill permit application and



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forbidding the County from enforcing its valid laws. Call this what it is – an attempt to bully and

intimidate the County into silence. Plaintiff’s agents were able to convince the county manager

and one commissioner in 2014 that it did not plan to build a landfill at all, but instead planned to

build an environmentally friendly waste-to-energy project. Its agents even got the County to

ignore its own Solid Waste Management Plan (“SWMP”) and provide consistency letters without

having any understanding of Plaintiff’s project or seeing any plans or proposals.1 Plaintiff

accomplished this feat by falsely assuring the County that what it intended to develop complied

with the SWMP. Even up to the week before Plaintiff filed its application with EPD, the

commissioner Plaintiff was able to sway (Michael Edgy) was declaring to the public that Plaintiff

was not developing a landfill, but rather a facility that utilized new technology to convert waste to

energy.2 (See Transcript of Meeting on December 22, 2016, pp. 21-23, attached to Declaration of

Brian Hendrix, which is Exhibit 2 to Defendants’ Notice of Filing.)

       Once Plaintiff’s application was filed and the County understood that it had been misled,

it let EPD know it had never approved what was contained in Plaintiff’s application. It did this

through EPD’s invitation to the public to comment about the pending application. Plaintiff now

appears to seek the Court’s power to prevent the County from further participation in the EPD’s

review of Development Partners’ permit application.

       Development Partners also appears to seek an injunction requiring Brantley County to issue

consistency letters to EPD certifying that Development Partners’ development plans are consistent



1
  Charles D. Summerlin, Jr. denies signing the February 6, 2015 letters. (Declaration of Charles
D. Summerlin, Jr., attached to Defendants Notice of Filing as Exhibit 1.) In sworn testimony,
Commissioner Edgy is forced to admit that Chairman Summerlin told him he refused to execute
the letters. (Doc. 58-4 p.16.)
2
  Discovery has not commenced, and if it does, the County will be able to uncover whether
Plaintiff’s agents deliberately misled the commissioners, or they simply took advantage of their
misunderstanding and trust.
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with the Brantley County 2006 Solid Waste Management Plan and zoning ordinance. None of this

relief is warranted and the Court should deny the motion.

                                            II.       FACTS

         Defendants adopt the Factual Background as stated in their Renewed Motion to Dismiss

(Doc. 48.) In several instances, the County vehemently objects to Plaintiff’s characterization of

the facts and files herewith declaration of individuals who contradict some of Plaintiff’s

allegations. (See Defendants’ Notice of Filing.) Given the expedited hearing on Plaintiff’s motion,

the County will address Plaintiff’s inaccuracies as needed during presentation of the motion to the

Court.

                    III.    ARGUMENT AND CITATION OF AUTHORITY

A.       Standard for the Issuance of a Preliminary Injunction

         The purpose of a preliminary injunction is to “restrain or compel conduct in those

extraordinary situations where irreparable injury might result from delay or inaction.” Alabama v.

United States Army Corps of Eng’rs, 424 F.3d 1117, 1133 (11th Cir. 2005) (citing United Bonding

Ins. Co. v. Stein, 410 F.2d 483, 486-87 (3d Cir. 1969)).

         A motion for a preliminary injunction must be based upon a cause of action. “There is no

such thing as a suit for a traditional injunction in the abstract. For a traditional injunction to be

even theoretically available, a plaintiff must be able to articulate a basis for relief that would

withstand scrutiny under Fed. R. Civ. P. 12(b)(6) (failure to state a claim).” Id. at 1127 (quoting

Klay v. United Healthgroup, Inc., 376 F.3d 1092, 1097 (11th Cir. 2004)). As discussed in Brantley

County’s Renewed Motion to Dismiss, Development Partners has not stated a claim. (See Doc.

48.) Moreover, because a preliminary injunction is an “extraordinary remedy,” it is not available

whenever a legal right has been infringed, “but only when that legal right has been infringed by an



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injury for which there is no adequate legal remedy and which will result in irreparable injury if the

injunction does not issue.” Id. (citing Beacon Theatres, Inc. v. Westover, 359 U.S. 500, 506 (1959);

Newman v. Alabama, 683 F.2d 1312, 1319 (11th Cir. 1982)).

       Therefore, a movant must make four showings to obtain a preliminary injunction: 1)

substantial likelihood of success on the merits; 2) the movant will suffer irreparable injury unless

the injunction is issued; 3) the threatened injury to the movant outweighs the possible injury that

the injunction may cause the opposing party; and 4) if issued, the injunction would not be adverse

to the public interest. Klay, 376 F.3d at 1097 (quoting Siegel v. LePore, 234 F.3d 1163, 1176 (11th

Cir. 2000)).

       A preliminary injunction “is an extraordinary and drastic remedy that should not be granted

unless the movant clearly carries its burden of persuasion on each of these prerequisites.”

GeorgiaCarry.Org, Inc. v. U.S. Army Corps of Eng’rs, 788 F.3d 1318, 1322 (11th Cir. 2015)

(quoting Suntrust Bank v. Houghton Mifflin Co., 252 F.3d 1165, 1166 (11th Cir. 2001)). Plaintiff

cannot make these showings.

B.     No Likelihood Plaintiff Will Prevail on the Merits

       1.      No Dormant Commerce Clause Claim Exists

       Development Partners’ motion includes a lengthy discussion of the dormant commerce

clause, which is not relevant to any of its claims for two reasons.3

       First, the correct version of the amended Solid Waste Management Plan (“SWMP”) does

not distinguish between in-county and out-of-county waste. Due to a clerical error, a Brantley

County clerk mistakenly produced to Plaintiff’s counsel a draft version of the amended SWMP




3
 This discussion is contained in the County’s renewed motion to dismiss and is provided in
summary fashion here.
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and not what was adopted. Brantley County has remedied this mistake, and clarified that the

County Commissioners passed a version of the amended SWMP that does not state that a solid

waste management facility must serve only the needs of the County. (Attached as Exhibit 6 to

Defendant’s Notice of Filing is a certified copy of the minutes from the meeting at which the

County clarified which version was adopted, with the final version attached to the minutes.) The

adopted version of the amended SWMP omits reference to any prohibition of importation on out-

of-county waste.

       Second, and more importantly, the amended SWMP has never been applied to

Development Partners. Rather, the 2006 SWMP was in effect when Plaintiff submitted its

application to the EPD. And, then, Plaintiff did not attempt to take even meager steps to comply

with the 2006 SWMP.

       2.      No Vested Rights Claim Exists

       Development Partners incorrectly claims that it obtained a vested right to build a landfill

when it sought and obtained initial consistency letters in 2014.4 The initial consistency letters

issued by the County did not create vested rights because they were given in violation of the 2006

SWMP. Not only does Development Partners not have a vested rights claim, Defendants are

immune from this and other state law claims brought by Development Partners.

            a. Defendants have immunity from vested rights claim

       The determination of a vested property right is, as Development Partners states, a question

of state law. Crown Media, LLC v. Gwinnett Cty., 380 F.3d 1317, 1325 (11th Cir. 2004). State

law thus governs immunity from vested rights claims, and Brantley County and the individual




4
 Again, this issue is addressed in detail in the County’s renewed motion to dismiss, which the
County will not repeat in detail.
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commissioners are entitled to sovereign immunity on this and other state law claims. Lathrop v.

Deal, 301 Ga. 408, 444 (2017) (“The constitutional doctrine of sovereign immunity bars any suit

against the State to which it has not given its consent, including suits against state departments,

agencies, and officers in their official capacities, and including suits for injunctive and declaratory

relief…”).

       Development Partners’ state law claims are also barred as to the individual commissioners

by official immunity. Ga. Const. of 1983, Art. I, Sec. II, Par. IX(d). As discussed in Defendants’

Reply Brief in Support of Renewed Motion to Dismiss, Development Partners cannot evade

sovereign immunity in this case by suing the commissioners in their individual capacities, because

it is clear that Development Partners’ claims are not against the commissioners as individuals, but

against the County. (Doc. 55, pp.21-22.)

       The rule of sovereign immunity “can not be evaded by making an action nominally one

against the servants or agents of a State, when the real claim is against the State itself and it is the

party vitally interested.” Lathrop, 301 Ga. at 414-415 (quoting Cannon v. Montgomery, 184 Ga.

588, 591 (1937)). This is in contrast with claims in which an officer is sued “individually for an

act which, while done in his official capacity, was wholly without lawful authority, and beyond

the scope of his official power.” Id. at 415-416 (citing Dennison Mfg. Co. v. Wright, 156 Ga. 789

(1923)). Here, the County commissioners had lawful authority to adopt a zoning ordinance, amend

its SWMP, and communicate the illegality of the consistency letters to the EPD.

       “The test for determining whether a suit is in reality one against the State though the State

is not named as a party is whether ‘if the relief prayed [for] in the present case is granted, it will

not operate to control the action of the State or subject it to liability[.]’” Bd. of Comm’rs v. Mayor

& Council of Valdosta, 352 Ga. App. 391, 395 (2019) (quoting Moore v. Robinson, 206 Ga. 27,



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37 (1949). See also Holcombe v. Ga. Milk Producers Confederation, 188 Ga. 358, 363 (1939)

(sovereign immunity did not bar suit for injunctive relief against board members, as individuals,

because “the State is not a party to the record[, and] [no] judgment is asked which will take any

property of the State, or fasten a lien on it, or interfere with the disposition of funds in its treasury,

or compel the State indirectly, by controlling its officers, to affirmatively perform any contract, or

pay any debt, or direct the exercise of any discretion committed to its officers”).

        Here, Development Partners is clearly suing the County. Plaintiff demands injunctive

relief that would require the County to not enforce its laws, not communicate with the EPD, reverse

its own zoning decisions, and require the County to send consistency letters to the EPD despite its

inability to legally do so. (Doc. 58, pp.27-28.) It would also forbid any County officials from

communicating the illegality of the initial consistency letters to the EPD. These demands go well

beyond the individual commissioners. Development Partners’ claims for injunctive relief are

clearly demands against the County. Therefore, the state law vested rights claim is barred by

sovereign immunity.

            b. Development Partners does not have a vested right to develop a landfill

        Development Partners argues that a “Regulation” violates its allegedly vested right to build

a landfill. The “Regulation” referenced in this argument is a County resolution withdrawing the

2014 consistency certification letters. (Doc. 58, pp.14 n.6, 19,20.) Development Partners claims

it has “relied on” these initial consistency letters for years. (Doc. 58, p.14.)

        To start, it is inappropriate to challenge this resolution in a motion for preliminary

injunction. “The sole function of an action for injunction is to forestall future violations. It is so

unrelated to punishment or reparations for those past that its pendency or decision does not prevent

concurrent or later remedy for past violations by indictment or action for damages by those



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injured.” Alabama v. United States Army Corps of Eng’rs, 424 F.3d 1117, 1133 (11th Cir. 2005)

(quoting United States v. Oregon State Med. Soc., 343 U.S. 326, 333 (1952)). The resolution has

already passed. If Development Partners can show it was harmed by this resolution, it may sue

for damages, but it cannot obtain an injunction.5

       As discussed in Brantley County’s Renewed Motion to Dismiss, it was illegal for the

County Manager to provide the initial consistency letters in November 2014; it was an ultra vires

act. (Doc. 55, pp.11-12.) It was always against the law for the County to issue the consistency

letters without meeting the requirements in the SWMP, so Development Partners could get no

vested rights from those letters. See Corey Outdoor Advertising, Inc. v. Board of Zoning

Adjustments, 254 Ga. 221 (1985).

       Development Partners cites to Crown Media, LLC v. Gwinnett County to state that a vested

right cannot be divested by subsequent government action. 380 F.3d 1317 (11th Cir. 2004). Crown

Media involved vested rights in county-issued building permits and sign permits, and a plaintiff

that actually applied for and received permits. Id. at 1329. Here, in contrast, Development Partners

never submitted any plans or made any requests for a building permit from Brantley County.

       Similarly, in Wal-Mart Stores, Inc. v. County of Clark, 125 F. Supp. 2d 420, 423 (D. Nev.

1999), also cited by Development Partners, the property owner had previously received zoning

approvals and the county had approved various plans and granted various permits. Again,

Development Partners never submitted any plans or proposals to Brantley County, so County

officials could not reasonably approve anything.




5
  Development Partners, moreover, provides no allegation in its complaint that EPD delayed
processing the permit application. Rather, it now presents to this Court self-serving conclusory
allegations from its engineer Steven Harbin. The Court should not consider the affidavit for
purposes of ruling on this motion.
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        Plaintiff incorrectly interprets Banks County v. Chambers of Georgia, 264 Ga. 421 (1994).

Development Partners says that this case stands for the proposition that an applicant gets vested

right upon seeking written verification that proposed landfill complies with local zoning

ordinances. The case actually says: “Plaintiffs were in compliance with the County’s zoning

ordinances when they sought written verification of compliance on August 20, 1991. It follows

that plaintiffs have a vested right to obtain written verification of zoning compliance despite the

enactment of [a later] zoning ordinance.” Id. at 423.

        Unlike Banks, the consistency letters and permit application here did not comply with the

SWMP. The issues are that (1) Development Partners did not submit a landfill proposal at all and

County officials could not have determined whether the plans complied with the SWMP, and (2)

the Development Partners’ property violates a restriction in the SWMP by being too close to the

Mumford House, as explained in the County’s motion to dismiss. The problem is that Plaintiff did

not submit a proposal and the certification letters were issued in violation of the law.

        Development Partners also relies on Recycle & Recover v. Georgia Board of Natural

Resources to no avail. 266 Ga. 253 (1996). In Recycle & Recover, a property owner applied to

modify its solid waste treatment facility permit prior to the enactment of a state law that would

delay the application for three years. Id. at 255. The court found that the property owner had a

right to the consideration of its application under prior law, but did not decide whether the owner

had a right to the issuance of the permit. Id. (“[W]e do not reach the ultimate question of whether

RRI is entitled to issuance of a permit.”). Here, the initial application and consistency letters did

not comply with then-existing law.

        Development Partners also is not correct that any informal assurances from County

officials gave it a vested right to build a landfill. In fact, there is evidence that the County officials



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were mistaken, at best, and hoodwinked, at worst, about the nature of Development Partners’

proposal. Then-Commissioner Michael Edgy stated at a public meeting that Development Partners

was proposing a waste-to-energy facility, not a landfill. (See Transcript of Meeting on December

22, 2016, pp. 21-23, attached to Declaration of Brian Hendrix, which is Exhibit 2 to Defendants’

Notice of Filing.) County officials cannot give assurances about the propriety of a development if

they do not have any proposed plans and do not even know what type of project is being planned.

       In this argument, Plaintiff again misstates the law. Development Partners writes that WMM

Properties, Inc. v. Cobb County, 255 Ga. 436 (1986), states that a landowner acquires a vested

right to develop a property when he relies on assurances by local officials and the landowner

expends money in reliance on those assurances. WMM Properties, 255 Ga. at 439. The case states

that a “landowner has a right to develop property where the property was purchased in reliance

upon the assurance of one county commissioner that the property was zoned for the use intended,

the development plan was in accordance with the existing zoning and was approved, albeit

informally, by the county commissioners, and the landowner has expended money in reliance upon

the development plan and the existing zoning. Id. (citing Spalding Cty. v. E. Enter., Inc., 232 Ga.

887 (1974) (emphasis added)). As discussed previously, Development Partners never submitted a

development plan. There was nothing that County officials could “assure” Development Partners

was in compliance with zoning or the SWMP. Nor was there any “development plan” that

Development Partners could rely on in its expenditures.

       Furthermore, the property owners in WMM Properties were not in a similar situation to

Development Partners. The property owner “obtained approval for detailed development plans of

all relevant county departments” and “expended large sums of money to go ahead with the

development from that point.” Id. Development Partners did not get formal or informal approval



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for “detailed development plans” because there were none.

       Edwards v. City of Warner Robins, 302 Ga. 381 (2017) presents a different problem for

Development Partners, though Plaintiff cites it for the same proposition. Unlike WMM Properties,

Edwards involved a property owner that was granted a rezoning, but not granted a right to develop

a mobile home park. Id. at 387. Edwards stated that the WMM Properties rule did not apply

because no development plans were approved. Id. at 388. Even though the locality granted a

rezoning, the court reasoned, the zoning law was clear that property owners had to follow the more

stringent requirements for the underlying zoning district and “[i]n light of this clear language,

Appellants could not have reasonably relied on the rezoning” to develop the property as they

desired. Id. Similarly, Development Partners could not have “reasonably relied” on assurances

from the county manager and one commissioner because it did not submit a proposal for the

officials to review. Development Partners was well aware that County officials could not provide

any information on whether their plan would comply with local laws because the officials never

saw a plan, let alone reviewed one.

       Development Partners is correct that there is case law which says that a vested right was

acquired when a property owner submitted its application to the EPD. S. States-Bartow Cty., Inc.

v. Riverwood Farm Homeowners Assoc., 300 Ga. 609, 611 (2017). This statement is supported by

precedent that is in line with the case law above, that a property owner gets a vested right to develop

its property when it submits its permit application if it is accordance with applicable law. S. States-

Bartow Cty., Inc. v. Riverwood Farm Prop. Owners Ass’n, Inc., 331 Ga. App. 878, 883 n.18 (2015)

(citing Fulton Cty. v. Action Outdoor Advertising, JV, LLC, 289 Ga. 347, 350 (2011) (holding that

when an applicant submits an application in accordance with applicable ordinances, the applicant

has a vested right); WMM Props., 255 Ga. at 438 (same)). In contrast with this precedent,



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Development Partners’ application was not submitted in accordance with applicable ordinances

and laws.

        In sum, Development Partners has no vested right to build a landfill. The initial consistency

letters were illegally issued and are void, and Development Partners never provided the County or

its officials with any plans or proposals. Development Partners is therefore unlikely to succeed on

the merits of its claim.

C.      Plaintiff Will Not Suffer Irreparable Harm

        Development Partners challenges the “Regulations” in its motion, including the amended

SWMP, the zoning ordinance, and the July 2020 resolution withdrawing the initial consistency

letters. As discussed above, it is inappropriate to challenge the resolution in a motion for

preliminary injunction, because the resolution was already approved. Most or all of Development

Partners’ assertions of irreparable harm relate to past conduct or conduct that is unrelated to

Brantley County’s actions.

        Brantley County’s resolution regarding the consistency letters did not delay the EPD permit

process. On January 31, 2020, Brantley County sent a letter to the EPD stating that the consistency

letters were illegally issued. Months later, on May 28, 2020, EPD sent Development Partners a

letter informing that it had completed its review of Development Partners’ application and it

appeared that siting standards could be met. (See Doc. 48, Exhibit B thereto.) Therefore, the

County’s act of recognizing that the consistency letters are invalid clearly did not affect the EPD

permit process. And, in Development Partners’ numerous affidavits, there is no statement from

the EPD that the permit has been or will be delayed by the County.

        Furthermore, it is inappropriate for Development Partners to attempt to thwart the County’s

involvement in the very public EPD landfill review process. There is nothing illegal or improper



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about the County’s conduct in this regard.

       Development Partners’ complaint that it cannot enter into non-contingent contracts without

assurances it will be able to develop a landfill cannot serve as the basis of its alleged irreparable

harm. Plaintiff’s “nonfinal contingency contracts” are conditioned on the receipt of a permit.

Development Partners presents an example of one such contract to this Court. Nothing the County

does has any bearing on the contingency that EPD issue the landfill permit.

       It is the decision of the EPD whether to grant Development Partners a permit to build a

landfill; that decision does not lie with the County. This situation is vastly different than that in

the case cited by Development Partners. In GSW, Inc. v. Long County, the Eleventh Circuit found

irreparable harm after a county rescinded a contract to build a solid waste facility. 999 F.2d 1508,

1510 (11th Cir. 1993). The Eleventh Circuit relied on evidence that the EPD told the property

owner it could not obtain a permit if it was not included in a county waste reduction plan. Id. at

1519 n.21.

       Here, the County did not rescind any approval. It simply made it unequivocal to the EPD

that the 2014 and 2015 consistency letters were invalid because they were ultra vires. The County

has no control over what the EPD does going forward.

       Development Partners also complains that the County will not issue new consistency

letters. This has not harmed Plaintiff, because the EPD has not requested the new consistency

letters. Defendants are aware that the EPD will request new consistency letters if such letters are

needed in the future, but it has not yet done so.6 It is not appropriate for the Court to order the



6
  Exhibit 4 to Defendants’ Notice of Filing is a copy of EPD’s response to comments to the draft
site limitations, which addresses the issue of requiring consistency letters in the future. “EPD
Response to Comments on Proposed Municipal Solid Waste Landfill in Brantley County,”
https://epd.georgia.gov/public-announcements-0/land-protection-branch-public-announcements.
The document is located in the link just below a document dated May 29, 2020. See
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County to issue letters in anticipation that the EPD permit will be approved.

        Development Partners relies on Pine Ridge Recycling v. Butts County, 864 F. Supp. 1338

(M.D. Ga. 1994), in support of the claim that Brantley County should issue another consistency

letter. In Pine Ridge Recycling, there was evidence that the EPD would issue a permit contingent

upon consistency letters and a public hearing. Id. at 1341. Here, though, the EPD has not asked

for another consistency letter and the EPD has not stated that it will issue a permit. There is

therefore no evidence that the absence of a new consistency letter has affected Development

Partners or its permit application.

        Development Partners also makes the assertion that the Regulations will put it out of

business because it won’t be able to build a landfill on the property. Development Partners has no

evidence to support this statement, and the statement is irrelevant to the facts. It has not provided

evidence of its holdings or financial records that could reflect the landfill permit’s impact on its

business. More importantly, Development Partners has no vested right to build the landfill, so it

does not matter that Development Partners’ business venture may not succeed.

D.      Injury to Plaintiff Does Not Outweigh Injury to Defendants

        Development Partners claims its injury will be the loss of a vested property right, the

inability to get an EPD permit, and the inability to build a landfill. All of these alleged injuries are

premised on the fallacy that Development Partners has a vested right to build a landfill and that

the EPD will deny the permit. There is no evidence of either of these.

        The injury to Development Partners cannot outweigh the injury to Brantley County,



Apalachicola Riverkeeper v. Taylor Energy Co., LLC., 113 F. Supp. 3d 870, 881 n.52 (E.D. La.
2015) (“[F]ederal courts consider records from government websites to be self-authenticating
under Rule 902(5).”). See also Qiu Yun Chen v. Holder, 715 F.3d 207, 212 (7th Cir. 2013) (“A
document posted on a government website is presumptively authentic if government sponsorship
can be verified by visiting the website itself”).
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because Development Partners will suffer no injury in the absence of a preliminary injunction.

Not only does Development Partners not have a vested right to build a landfill, it does not even

have standing to bring this action. (See Doc. 48, pp.8-13.)

        Moreover, the decision whether to issue the permit belongs to the EPD; Brantley County

cannot make that decision. In the absence of an injunction, Development Partners is in exactly the

same place it would be with the injunction. Brantley County, though, would be harmed by the

injunction. An injunction would compel the County to change its zoning laws and SWMP, violate

its laws by issuing another consistency letter, and restrain County officials from communicating

the illegality of the initial consistency letters to the EPD.

E.      Preliminary Injunction Would Be Adverse to the Public Interest

        A preliminary injunction would be adverse to the public interest. Development Partners

disagrees claiming the “Regulations” are unenforceable, a landfill will create solid waste disposal

competition, and a landfill will create jobs.

        The zoning ordinance and 2006 SWMP are enforceable against Development Partners.

The initial consistency letters were illegally issued, so Development Partners could not have

obtained a vested right to build a landfill from those letters. Rather, it would be adverse to the

public interest for the County to violate its own laws and issue another consistency letter.

        Development Partners’ assertion that its proposed landfill will create competition is

confusing. Development Partners has provided no evidence to support this allegation, such as

evidence of the costs of disposal before and after the proposed landfill would be added.

Development Partners itself has also stated that Brantley County has no landfills, and that landfills

exist in three neighboring counties. (Doc. 45, ¶ 152.) At present, then, three landfills must compete

for Brantley County’s waste because no one landfill ‘corners’ the Brantley County market.



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Development Partners’ proposed landfill would do just that, and would decrease competition in

the County.

       More importantly, there is strong evidence that the landfill would harm the public interest

because it would harm public health for all of the reasons the County has expressed to EPD.

                                        CONCLUSION

       Therefore, the County respectfully requests that the Court deny Development Partners’

Motion for Preliminary Injunction.

       Respectfully submitted this 23rd day of September, 2020.

                                            FREEMAN MATHIS & GARY, LLP

                                            /s/ Dana K. Maine   ____________
                                            Dana K. Maine
                                            Georgia Bar No. 466580
                                            dmaine@fmglaw.com
                                            Rachael Slimmon
                                            Georgia Bar No. 831661
                                            rslimmon@fmlgaw.com

                                            Attorneys for Defendants

100 Galleria Parkway, Suite 1600
Atlanta, GA 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)




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                                 CERTIFICATE OF SERVICE

          I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR

PRELIMINARY INJUNCTION to the Clerk of Court using the CM/ECF e-filing system which

will automatically send electronic mail notification of such filing to the following counsel of

record:

          L. Robert Lovett                      George Rountree
          Lovett Law Group                      Brown Rountree, P.C.
          5400 Riverside Drive, Suite 203       26 North Main Street
          Macon, GA 31210                       Statesboro, GA 30458
          Bob@LovettLawGroup.com                george@br-firm.com

          Kyler L. Wise                         Mark D. Johnson
          Wilson Brock & Irby, LLC              Gilbert, Harrell, Sumerford & Martin, PC
          2849 Paces Ferry Road, Suite 700      PO Box 190
          Atlanta, GA 30339                     Brunswick, GA 31521-0190
          kwise@wbilegal.com                    mjohnson@gilbertharrelllaw.com


          This 23rd day of September, 2020.

                                                   /s/ Dana K. Maine
                                                   Dana K. Maine
                                                   Georgia Bar No. 466580
                                                   dmaine@fmglaw.com

                                                   Counsel for Defendants
FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, GA 30339-5948
(770) 818-0000 (telephone)
(770) 937-9960 (facsimile)




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